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3:08cr46-007LAC - RICHARD DAN BODENHAMER a/k/a “Cowboy”
                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                              Case # 3:08cr46-007LAC

RICHARD DAN BODENHAMER a/k/a “Cowboy”
                                                                  USM # 26648-001

                                                                  Defendant’s Attorney:
                                                                  Donald M. Sheehan (Appointed)
                                                                  1500 West Garden Street
                                                                  Pensacola, Florida 32501
___________________________________
                            JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts One and Two of the Indictment on August 7, 2008.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                              NATURE OF                      DATE OFFENSE
          NUM BER                                  OFFENSE                        CONC LUDED         COUNT

21 U.S.C. §§ 841(a)(1),              Conspiracy to Possess with Intent to          May 20, 2008        One
(b)(1)(A)(ii), (b)(1)(A)(vii), and   Distribute Five (5) Kilograms or More of
846                                  a Mixture and Substance Containing a
                                     Detectable Amount of Cocaine and One-
                                     Thousand (1,000)
                                     Kilograms or More of a Mixture and
                                     Substance Containing a Detectable
                                     Amount of Marijuana

21 U.S.C. § 841(b)(1)(A)(ii)         Possession with Intent to Distribute Five     April 2, 2007       Two
and (b)(1)(B)(vii)                   (5) Kilograms or More of a Mixture and
                                     Substance Containing a Detectable
                                     Amount of Cocaine and One-Hundred
                                     (100) Kilograms or More of a Mixture
                                     and Substance Containing Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                  Date of Imposition of Sentence:
                                                                  October 31, 2008
                                                                  s/L.A. Collier
                                                                  LACEY A. COLLIER
                                                                  SENIOR UNITED STATES DISTRICT JUDGE

                                                                  November 10, 2008
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                                             IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 100 months as to Counts One and Two, with each count to run
concurrent, with 80 months to run concurrent with the sentence imposed in the Northern
District of Alabama, DKT #CR07-J348-S, and 20 months to run consecutively with the
sentence imposed in DKT #CR07-J348-S, for a total term of imprisonment of 100 months.

        The defendant is remanded to the custody of the United States Marshal.




                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                             __________________________________
                                                                   UNITED STATES MARSHAL


                                                           By:__________________________________
                                                                       Deputy U.S. Marshal
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                                        SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Five Years as to Counts One and Two, with each count to run concurrent, and to run
concurrent with the term of supervised release in Northern District of Alabama, DKT #CR07-
J-348-S.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                          STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.      The defendant shall not leave the judicial district without the permission of the court or probation
        officer;

2.      The defendant shall report to the probation officer an d s ha ll submit a truthful and complete written
        report within the first five days of each month;

3.      The defendant sh all answe r tru thfully all inquiries by the probation officer and follow the instructions
        of the probation officer;

4.      The defendant shall support his or her dependents and meet other family responsibilities;

5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

6.      The defendant shall notify the probation officer at least 10 days prior to any change in residence or
        em ploym ent;

7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;

8.      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;

9.      The defendant shall not associate with any persons engaged in criminal activity and shall not
        ass ociate with any person convicted of a felony unless granted permission to do so by the probation
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        officer;

10.     The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
        shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.     The defendant sh all notify the pro bation officer within 72 hou rs of being arrested or questioned by
        a law enforcem ent officer;

12.     The defendan t shall not enter into any agreemen t to act as an informer or a special agent of a law
        enforcement agency without the permission of the court; and

13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal histo ry or characteristic s and shall perm it
        the probation officer to make such notifications and to confirm the defendant’s compliance with such
        notifica tion req uirem ent.

14.     If this judgme nt impos es a fine or a restitution obligation, it shall be a condition of supervision that the
        defendant pay any such fine or restitution in accordance with the Sc hedule of Paym ents s et forth in
        the C rim inal Mone tary Penalties she et of this judg m ent.

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

        The defendant shall also comply with the following additional conditions of supervised
        release:

        The defendant shall be evaluated for substance abuse and referred to treatment as
        determined necessary through an evaluation process. The defendant may be tested for the
        presence of illegal controlled substances or alcohol at any time during the term of
        supervision.

        The defendant shall actively seek and/or maintain full time legal employment or enroll in a
        full time educational or vocational program.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




        Defendant                                                   Date




        U.S. Probation Officer/Designated Witness                   Date
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                                CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                 SUMMARY
          Special
    Monetary Assessment                               Fine                      Restitution

              $200.00                                  $0                            $0




                               SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

No fine imposed.
No restitution imposed.
